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ATTORNEYS AT LAW wyyy,rk-lawfirm.com
MAR 18 2UT4
March 17, 2014 David J. Bradley, Clerk of Court
Via Regular Mail
United States District Clerk
Post Office Box 61010

Houston. Texas 77208

Re: — Civil Action No. 13-2019; Associated Energy Group, LLC v. Air Cargo Germany
GMBH and Volga-Dnepr Airlines; In the U.S. District Court of the Southern
District ot Texas, Houston Division

Dear United States District Clerk:

Pursuant to Judge Harmon’s procedures, I am addressing this letter to you. On July 17,
2013, in the above referenced case, Defendant Volga-Dnepr Airlines (“WDA”) filed Defendant
Volga-Dnepr Airlines’ Motion to Dismiss Pursuant to Federal Rules of Civil Procedure 12(b)(2)
and 12(b)(5), and, Subject Thereto, Motion to Dismiss Pursuant to Federal Rule of Civil
Procedure 12(b)(6) (“Motion”). The Motion was submitted to the Court on August 7, 2013. On
November. 6,:2013, Plaintiff Associated Energy Group, LLC (“AEG”) and VDA attended the
Initial Pretrial and Scheduling Conference. At the Initial Pretrial and Scheduling Conference, the
parties informed Magistrate Judge Stacey that the Motion was pending and ready to be ruled
upon. Judge Stacey informed the parties that she would inform Judge Harmon that the Motion
was ready for consideration and decision. Judge Stacey also suggested to the parties that, if a
ruling has not occurred, the parties could send a letter to the Court to advise it of the outstanding
Motion and inquire about the status of the Motion.

While the parties, in their joint case plan, had attempted to provide the Court with some
additional time for a ruling prior to having to commence written discovery, the parties had
included an anticipated date for interrogatories in their case plan. Based on that, the parties
served interrogatories on one another and Plaintiff also served a set for request for production on
VDA. (VDA has since served its own set of request for production on Plaintiff out of an
abundance of caution). Accordingly, there is now a deadline of March 26, 2014 to respond to
such discovery, at a considerable cost to the parties especially VDA, which would have to gather
documents from offices around the world if it is required to respond to Plaintiffs discovery
demands.

Before expending considerable expense engaging in discovery, VDA is hoping to learn of
the status of a ruling on its Motion.

VDA understands that the Court has a busy docket and that its Motion is one of many on
the Court’s agenda. VDA wouid merely like to ascertain whether it should seek to extend the
discovery deadline of March 26, 2014 by consent or motion. because a ruling on its Motion may
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be imminent. Any guidance or information that you can provide would be helpful. Thank you
for your time and courtesy in this matter.
Sincerely,

RAPP & KROCK,

enneth M. Krock

ce: Mr. Robert Joseph Kruckemeyer, via regular mail
800 Commerce St.
Houston, Texas 77002
Attorney for Associated Energy Group, LLC
